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                  IN THE UNITED STATES DISCTRICT COURT FOR THE
                              DISTRICT OF COLUMBIA

                                                 )
MOHAMMEDOU OULD SLAHI,                           )
                                                 )
               Petitioner,                       )
       v.                                        )   Civil Action No. 05-0569 (JR)
                                                 )
BARACK OBAMA, et al.,                            )
                                                 )
               Respondents.                      )
                                                 )

                     NOTICE OF WITHDRAWAL OF APPEARANCE

TO THE CLERK OF THE COURT:

       Kindly withdraw the appearance of Zachary Katznelson as counsel on behalf of Petitioner

Mohammedou Ould Slahi in the above-referenced action.

       Please note that Linda Moreno of Linda Moreno P.A., Arthur B. Spitzer of the American

Civil Liberties Union of the Nation’s Capital, Hina Shamsi of the American Civil Liberties

Union Foundation, Jonathan Hafetz, Nancy Hollander of Freedman Boyd Hollander Goldberg

Urias & Ward, P.A., and Theresa M. Duncan of Duncan Earnest LLC, will continue to represent

the Petitioner in the above-referenced action.

                                                     Respectfully submitted,

                                                     /s/ Zachary Katznelson
                                                     Zachary Katznelson
                                                     Equal Justice Initiative
                                                     122 Commerce Street
                                                     Montgomery, AL 36104
                                                     334-269-1803
Dated: July 17, 2013                                 zkatznelson@gmail.com
